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  1                         UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
  2                               ABILENE DIVISION

  3     UNITED STATES OF AMERICA             )
                                             )
  4     VS.                                  )   CAUSE NO. 1:19-CR-021-P-BU-2
                                             )
  5     CHRISTOPHER JAMES REGAN              )

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  8                ARRAIGNMENT and DETENTION HEARING (NOT HELD)
                       BEFORE THE HONORABLE E. SCOTT FROST,
  9                       UNITED STATES MAGISTRATE JUDGE

 10                            TUESDAY, MARCH 12, 2019
                                    ABILENE, TEXAS
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                                A P P E A R A N C E S
 14
        FOR THE GOVERNMENT:
 15     UNITED STATES ATTORNEY'S OFFICE
        341 PINE STREET, SUITE 201
 16     ABILENE, TEXAS 79601
        BY: JUANITA FIELDEN
 17

 18     FOR THE DEFENDANT:
        BLIZZARD & ZIMMERMAN
 19     ATTORNEYS AT LAW
        441 BUTTERNUT STREET
 20     ABILENE, TEXAS 79605
        BY: JACOB AUSTIN BLIZZARD
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 24     PROCEEDINGS RECORDED BY DIGITAL SOUND RECORDING; TRANSCRIBED
        BY MECHELLE DANIEL, FEDERAL OFFICIAL COURT REPORTER, 1205 TEXAS
 25     AVENUE, LUBBOCK, TEXAS 79401, (806) 744-7667.




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  1                             P R O C E E D I N G S

  2                  THE COURT:    Next is Case Number 1:19-CR-021,

  3     United States vs. Christopher James Regan.

  4                  MS. FIELDEN:    Juanita Fielden for the government.

  5                  MR. BLIZZARD:     Jacob Blizzard for Mr. Regan.

  6                  THE COURT:    Thank you, Counsel.

  7                  All right, Mr. Regan.      You previously appeared

  8     before me, and at that time, I advised you of your rights,

  9     including your right to remain silent and your right to

 10     counsel.   Do you understand you still have those rights?

 11                  THE DEFENDANT:     Yes, sir.

 12                  THE COURT:    And you have Mr. Blizzard here with you

 13     as your attorney.     Have you had an opportunity to go over the

 14     charges in the indictment with him?

 15                  THE DEFENDANT:     Yes, sir.

 16                  THE COURT:    Do you understand those charges?

 17                  THE DEFENDANT:     Yes, sir.

 18                  THE COURT:    Would you like to have them read again

 19     at this time?

 20                  THE DEFENDANT:     No, sir.

 21                  THE COURT:    We also went over the potential

 22     penalties that you face.      Do you understand those penalties?

 23                  THE DEFENDANT:     Yes, sir.

 24                  THE COURT:    Would you like to have them read again?

 25                  THE DEFENDANT:     No, sir.




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  1                  THE COURT:    And based upon your understanding of

  2     the charges and the penalties, how do you plead?            Guilty or not

  3     guilty?

  4                  THE DEFENDANT:     Not guilty.

  5                  THE COURT:    And your case has been set for trial on

  6     May the 6th.

  7                  Anything else we need to take up as far as the

  8     arraignment, Mr. Blizzard?

  9                  MR. BLIZZARD:     No, sir.

 10                  THE COURT:    Ms. Fielden?

 11                  MS. FIELDEN:    No, Your Honor.

 12                  THE COURT:    And we're also scheduled today for a

 13     detention hearing.     Are we prepared to proceed with that

 14     hearing?

 15                  MS. FIELDEN:    Your Honor, it's the government's

 16     position that the detention is moot at this point in time.

 17     This morning, I provided defense counsel with a copy of an

 18     arrest warrant from Howard County for this defendant for

 19     aggravated sexual assault, so he has those charges pending

 20     against him.

 21                  THE COURT:    And, Mr. Blizzard--

 22                  MR. BLIZZARD:     Judge--

 23                  THE COURT:    --what is your opinion?

 24                  MR. BLIZZARD:     Yes, sir.      I did receive a copy of

 25     that warrant.    I believe the Court has been provided a copy as




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  1     well.    Speaking with the officers that are here from Howard

  2     County, I believe they have got it in the system as a hold on

  3     him, so I think that does make the detention moot.

  4                   Mr. Regan doesn't waive detention.        We'd like to

  5     have the detention hearing at such time that he does post bond

  6     on that case.

  7                   THE COURT:   All right, sir.      Yes, based upon this

  8     warrant, we will postpone any detention hearing until such time

  9     as the state charges have been satisfied and Mr. Regan is not

 10     in the custody of Howard County.        In that situation, we will

 11     reset it for detention hearing, but until that time, Mr. Regan,

 12     you will remain in custody.

 13                   THE DEFENDANT:    Understood, sir.

 14                   THE COURT:   All right, sir.      Then you may step

 15     down.

 16                   MR. BLIZZARD:    Thank you, Judge.

 17                   THE COURT:   Thank you.

 18                   MR. BLIZZARD:    May I be excused?

 19                   THE COURT:   Yes.   Thank you.

 20                   MR. BLIZZARD:    Thank you.

 21             (END OF HEARING)

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  1          I, Mechelle Daniel, Federal Official Court Reporter in and
        for the United States District Court for the Northern District
  2     of Texas, do hereby certify that the foregoing is a correct
        transcript to the best of my ability from a digital sound
  3     recording of the proceedings in the above-entitled matter.

  4

  5      /s/ Mechelle Daniel                     DATE     APRIL 8, 2020

  6     MECHELLE DANIEL, CSR #3549
        FEDERAL OFFICIAL COURT REPORTER
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